                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                       )
                                                        )
Michael W. Davidson                                     )
SSN: XXX-XX-3867                                        )     CASE NO. 18-82270-CRJ11
                                                        )
               Debtor.                                  )     CHAPTER 11
                                                        )

            JOINT PLAN OF REORGANIZATION DATED AUGUST 30, 2019

         Michael W. Davidson, as Debtor and Debtor-in-possession (the “Debtor”) and The Estate
of Julio Biora, Alejandro Rezzonico, Marina Rezzonico and Mariano Rezzonico (collectively
“Biora Creditors”), as joint Plan Proponents (hereinafter Debtor and Biora Creditors are jointly
referred to as “Plan Proponents”), hereby propose the following plan of liquidation pursuant to
Section 1121(a) of Title 11 of the United States Code. The following are essential to a complete
understanding and implementation of this Plan: (i) the Definitions contained in Article I below;
and (ii) the Disclosure Statement dated August 30, 2019, which contains the Debtor’s background,
identifies assets to be liquidated, projections for future recoveries, a summary and analysis of this
Plan and the amount ultimately distributed to Allowed Claims.

                                     ARTICLE I
                          DEFINITIONS AND INTERPRETATION

        The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import
refer to the Plan as a whole and not to any particular Section, subsection, or clause contained
therein. A term used herein that is not defined herein shall have the meaning assigned to that term
in the Bankruptcy Code or the Bankruptcy Rules. The rules of construction contained in Section
102 of the Bankruptcy Code shall apply to the Plan. The headings in the Plan are for convenience
of reference only and shall not limit or otherwise affect the provisions hereof. In computing any
period of time prescribed or allowed by the Plan, the provisions of Rule 9006(a) of the Bankruptcy
Rules shall apply. Each of the terms set forth herein shall have the meaning ascribed to such term
by the Plan and such meaning shall be equally applicable to the singular and plural forms of the
terms so defined. All definitions are, and shall be, regarded as integral, substantive and operative
provisions of the Plan.

       DEFINITIONS.

           1.1 “Administrative Expense Claim” means any right to payment constituting a cost
   or expense of administration of this Chapter 11 Case allowed under Sections 503(b),
   507(a)(1), and 1114(e) of the Bankruptcy Code, including, without limitation, any actual and
   necessary costs and expenses of preserving the Debtor’s Estate, any indebtedness or
   obligations incurred or assumed by the Debtor as Debtor in possession, any costs, expenses,
   and attorney’s fees incurred by counsel for the Debtor as allowed by the Bankruptcy Court,

                                             Page 1 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                              Main Document    Page 1 of 21
   any allowances of compensation and reimbursement of expenses to the extent allowed by
   Final Order under Sections 330 or 503 of the Bankruptcy Code, and any fees or charges
   assessed against the Debtor’s Estate under Section 1930 of Chapter 123 of Title 28 of the
   United States Code.

           1.2 “Administrative Expense Claim Bar Date” has the meaning set forth in Section
   2.3 of Article II.

           1.3 “Allowed” means, with reference to any Claim or Interest, (i) any Claim or
   Interest that has been listed by the Debtor in the Schedules, as such Schedules may be
   amended by the Debtor from time to time in accordance with Bankruptcy Rule 1009, as
   liquidated in amount and not disputed or contingent and for which no contrary proof of claim
   has been filed, and that is not otherwise Disputed, (ii) any timely filed Claim or Interest as to
   which no objection to allowance has been made or such other applicable period of limitation
   fixed by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or as to which
   any objection has been determined by a Final Order to the extent such objection is determined
   in favor of the respective holder, or (iii) any Claim or Interest expressly allowed by a Final
   Order or hereunder.

          1.4 “Allowed Amount” when referring to a Claim means the amount Allowed.

           1.5 “Available Funds” means the amount of Cash held by the Debtor available to be
   distributed to holders of Allowed Claims, Administrative Expense Claims, Professional Fee
   Claims, Priority Tax Claims, and the fees and expenses of the Debtor, and his professionals,
   including, but not limited to, the proceeds of the liquidation of the assets of the Debtor or the
   Estate, which also includes the recoveries and proceeds of Causes of Action and Avoidance
   Actions.

           1.6 “Avoidance Action” means any claim, action or cause of action of the Debtor or
   the Estate, or either of them, that is or may be the subject of an adversary proceeding or
   contested matter under Sections 510, 541, 542, 543, 544, 545, 546, 547, 548, 549, 550, 551,
   and/or 553 of the Bankruptcy Code, or pursuant to any similar or related state or federal
   statutes or common law (including fraudulent transfer laws) whether or not litigation has been
   commenced as of the Confirmation Date to prosecute such claim, action, or cause of action.

           1.7 “Bankruptcy Code” means Title 11 of the United States Code, as amended from
   time to time, as applicable to this Chapter 11 Case.

           1.8 “Bankruptcy Court” means the United States Bankruptcy Court for the Northern
   District of Alabama, having jurisdiction over this Chapter 11 Case.

          1.9 “Bankruptcy Court Fees” means the quarterly fees assessed in the Chapter 11
   Case pursuant to 28 U.S.C. § 1930(a)(7).

          1.10       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
   as promulgated by the United States Supreme Court under Section 2075 of Title 28 of the
   United States Code, as amended from time to time, applicable to this Chapter 11 Case, and
   any Local Rules of the United States Bankruptcy Court for the Northern District of Alabama

                                            Page 2 of 21


Case 18-82270-CRJ11        Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                             Main Document    Page 2 of 21
   applicable to this Chapter 11 case.

          1.11       “Business Day” means any day other than a Saturday, a Sunday, or any
   other day on which banking institutions in Huntsville, Alabama are required or authorized to
   close by law or executive order.

          1.12        “Bar Date” means October 26, 2018, the date by which proofs of Claim
   must be filed with the Bankruptcy Court.

          1.13        “Case” means this Chapter 11 Case.

          1.14        “Cash” means legal tender of the United States of America.

            1.15       “Causes of Action” means all claims and causes of action held by the
   Estate immediately prior to the Effective Date, including, but not limited to, any and all
   claims, obligations, rights, suits, damages, causes of action, remedies and liabilities,
   whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
   known or unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or
   otherwise, whether arising under any contract or under the Bankruptcy Code or other federal,
   state or other non-bankruptcy law, including, without limitation, any causes of action set forth
   in this Plan or Disclosure Statement and any Exhibits thereto and all Avoidance Actions, but
   excluding claims and causes of action and related recoveries specifically and expressly
   released, exculpated or waived pursuant to this Plan.

         1.16       “Chapter 11 Case” means the case under Chapter 11 of the Bankruptcy
   Code commenced by the Debtor on the Commencement Date, styled In re Michael W.
   Davidson, Case No. 18-82270-CRJ11.

          1.17        “Claim” has the meaning set forth in Section 101 of the Bankruptcy Code.

          1.18       “Class” means any group of Claims or Equity Interest(s) classified by the
   Plan pursuant to Section 1122(a) of the Bankruptcy Code.

          1.19       “Collateral” means any property or interest in property of the Estate of
   the Debtor subject to a lien, charge, or other encumbrance to secure the payment or
   performance of a Claim, which lien, charge, or other encumbrance is not subject to avoidance
   under the Bankruptcy Code.

         1.20       “Confirmation Date” means the date on which the Clerk of the
   Bankruptcy Court enters the Confirmation Order.

          1.21        “Confirmation Hearing” means the hearing to be held by the Bankruptcy
   Court regarding confirmation of the Plan, as such hearing may be adjourned or continued
   from time to time.

           1.22      “Confirmation Order” ” means the Final Non-Appealable Order of the
   Court determining that the Plan meets the requirements of the Bankruptcy Code and is entitled
   to confirmation.

                                            Page 3 of 21


Case 18-82270-CRJ11        Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                 Desc
                             Main Document    Page 3 of 21
           1.23        “Court” means the Bankruptcy Court.

           1.24        “Debtor” means Michael W. Davidson.

           1.25       “Disclosure Statement” means the disclosure statement relating to the
   Plan, including, without limitation, all exhibits thereto, as approved by the Bankruptcy Court
   pursuant to Section 1125 of the Bankruptcy Code.

             1.26        “Disputed” means, with respect to any Claim or Interest that has not been
     Allowed pursuant to the Plan or a Final Order,
         (a) if no proof of claim has been filed by the applicable deadline: (i) a Claim or Interest
that has been or hereafter is listed on the Schedules as disputed, contingent, or unliquidated; or
(ii) a Claim or Interest that has been or hereafter is listed on the Schedules as other than disputed,
contingent, or unliquidated, but as to which the Debtor or any other party in interest has interposed
an objection or request for estimation which has not been withdrawn or determined by a Final
Order; or

        (b) if a proof of claim or request for payment of an Administrative Expense Claim has
been filed by the applicable deadline: (i) a Claim or Interest for which no corresponding Claim or
Interest has been or hereafter is listed on the Schedules; (ii) a Claim or Interest for which a
corresponding Claim or Interest has been or hereafter is listed on the Schedules as other than
disputed, contingent, or unliquidated, but the nature or amount of the Claim or Interest as asserted
in the proof of claim varies from the nature and amount of such Claim or Interest as listed on the
Schedules; (iii) a Claim or Interest for which a corresponding Claim or Interest has been or
hereafter is listed on the Schedules as disputed, contingent, or unliquidated; or (iv) a Claim or
Interest for which a timely objection or request for estimation is interposed which has not been
withdrawn or determined by a Final Order.

          1.27      “Distribution” means cash required under the Plan to be distributed to the
   holders of Allowed Claims account of an Allowed Claim or as otherwise allowed by
   Bankruptcy Court Order.

         1.28       “Effective Date” means the date on which the Confirmation Order
   becomes a Final Order.

           1.29        “Estate” has the meaning set forth in Section 541 of the Bankruptcy Code.

           1.30        “Final Distribution” has the meaning set forth in Section 7.8 of Article
   VII.

           1.31       “Final Order” means an order or judgment of the Bankruptcy Court
   entered by the Clerk of the Bankruptcy Court on the docket in this Chapter 11 Case which has
   not been reversed, vacated, or stayed and as to which (i) the time to appeal, petition for
   certiorari, or move for a new trial, reargument, or rehearing has expired and as to which no
   appeal, petition for certiorari, or other proceeding for a new trial, reargument, or rehearing
   shall then be pending, or (ii) if an appeal, writ of certiorari, new trial, reargument, or rehearing
   thereof has been sought, such order or judgment of the Bankruptcy Court shall have been
   affirmed by the highest court to which such order was appealed, or certiorari shall have been

                                              Page 4 of 21


Case 18-82270-CRJ11          Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                   Desc
                               Main Document    Page 4 of 21
   denied, or a new trial, reargument, or rehearing shall have been denied or resulted in no
   modification of such order, and the time to take any further appeal, petition for certiorari, or
   move for a new trial, reargument, or rehearing shall have expired.

           1.32        “General Unsecured Claim” means any Claim against the Debtor that (i)
   is not an Administrative Expense Claim, Priority Tax Claim, Secured Claim, or Priority Non-
   Tax Claim, or (ii) is otherwise determined by the Bankruptcy Court to be a General Unsecured
   Claim.

           1.33       “Impaired” has the meaning set forth in Section 1124 of the Bankruptcy
   Code.

           1.34       “Insider” has the meaning set forth in Section 101 of the Bankruptcy
   Code.

           1.35       “Initial Distribution” has the meaning set forth in Section 7.3 of Article
   VII.

           1.36       “Interim Distributions” have the meaning set forth in Section 7.4 of
   Article VII.

           1.37         “Lien” means any charge against, security interest in, encumbrance upon
   or other interest in property to secure payment of a debt or performance of an obligation.

           1.38        “Person” has the meaning set forth in Section 101(41) of the Bankruptcy
   Code.

           1.39       “Petition Date” means July 31, 2018, the date upon which the chapter 11
   petition of Debtor was Filed with the Bankruptcy Court.

           1.40       “Plan” means this liquidating Chapter 11 plan of reorganization, including
   all exhibits, appendixes, and supplements hereto, as the same may be amended or modified
   from time to time in accordance with the provisions of the Bankruptcy Code and the terms
   hereof.

           1.41      “Plan Distribution Account” means the bank account into which all
   funds from the administration or liquidation of properties of the estate shall be deposited.

           1.42       “Plan Proponents” means the Debtor and the Biora Creditors.

           1.43       “Priority Non-Tax Claim” means any Claim, other than an
   Administrative Expense Claim or a Priority Tax Claim, entitled to priority in payment as
   specified in Section 507(a)(3), (4), (5), (6), (7), or (9) of the Bankruptcy Code.

           1.44         “Priority Tax Claim” means any Claim of a governmental unit of the kind
   entitled to priority in payment as specified in Sections 502(i) and 507(a)(8) of the Bankruptcy
   Code.



                                            Page 5 of 21


Case 18-82270-CRJ11        Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                 Desc
                             Main Document    Page 5 of 21
           1.45      “Pro Rata” means proportionally, so that with respect to an Allowed
   Claim, the ratio of the amount of property distributed on account of a particular Allowed
   Claim to the amount of the Allowed Claim is equal to the ratio of the amount of property
   distributed on account of all Allowed Claims of the Class in which the particular Allowed
   Claim is included to the amount of all Claims in that Class (including Disputed Claims until
   disallowed).

           1.46       “Professional Fee Claims” has the meaning set forth in Section 2.2 of
   Article II.

          1.47        “Schedules” means the schedules of assets and liabilities and the
   statements of financial affairs filed by the Debtor under Section 521 of the Bankruptcy Code,
   Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as such
   schedules and statements have been or may be supplemented or amended through the
   Confirmation Date.

           1.48       “Secured Claim” means a Claim (i) secured by Collateral, to the extent of
   the value of such Collateral: (a) as set forth in the Plan, (b) as agreed to by the holder of such
   Claim and the Plan Proponents, or (c) as determined by a Final Order in accordance with
   Section 506(a) of the Bankruptcy Code; or (ii) secured by the amount of any rights of setoff
   of the holder thereof under Section 553 of the Bankruptcy Code.

         1.49       “Biora Creditors” means The Estate of Julio Biora, Alejandro Rezzonico,
   Marina Rezzonico and Mariano Rezzonico.

           1.50       “Tax Code” means Title 26 of the United States Code, as amended from
   time to time.




                                             Page 6 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                              Main Document    Page 6 of 21
                                   ARTICLE II
                        TREATMENT OF UNCLASSIFIED CLAIMS

        2.1    Administrative Expense Claims. Except to the extent the Plan Proponents and
the holder of an Allowed Administrative Claim agree to different and less favorable treatment,
each holder of an Administrative Expense Claim shall be paid, in full satisfaction of such Claim,
an amount in Cash equal to the amount of such Administrative Expense Claim approved by the
Court on the earlier of the date of entry of the order approving such Administrative Expense Claim
or the Effective Date, or as soon thereafter as is reasonably practicable. Without limitation, all
quarterly fees assessed under 28 U.S.C. § 1930(a)(7) shall be paid on the Effective Date, or as
soon thereafter as reasonably practicable, and as they come due thereafter.

        2.2     Compensation and Reimbursement Claims. All Claims for services rendered
or reimbursement of expenses incurred through and including the Confirmation Date under
Sections 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code
(“Professional Fee Claims”) shall be paid in full in the amount approved by the Bankruptcy Court
on the earlier of the date of entry of the order approving such Professional Fee Claim, the Effective
Date, or as soon as is reasonably practicable thereafter from funds generated by the liquidation of
assets pursuant to this Plan and administered by the Debtor. The entry of a Final Order approving
a Professional Fee Claim shall constitute a release of any and all claims against such claimant
relating to the subject matter of the services rendered. Presently, the Debtor estimate that the
amount of accrued but unpaid Administrative Claims for Professional Fees that are owed Heard
Ary & Dauro are $13,300 .

        2.3     Administrative Expense Claim Bar Date. All persons and entities seeking an
allowance of or reimbursement for an Administrative Expense Claim or a Professional Fee Claim
shall file their respective final applications by the date that is thirty (30) days after the
Confirmation Date (the “Administrative Expense Claim Bar Date”) or forever be barred from so
doing.

                                  ARTICLE III
                    CLASSIFICATION OF CLAIMS AND INTERESTS

       Pursuant to Section 1123(a)(1) of the Bankruptcy Code, the Plan designates the
following classes of Claims and Interests, other than Administrative Claims, for all
purposes, including voting, confirmation, and distribution, as follows:


  Class       Designation                          Impaired/Unimpaired Entitled to Vote if
                                                   if Allowed          Allowed
  Class 1.1   Redstone Federal Credit Union        Impaired            Yes
  Secured
  Class 1.2   Lincoln Automotive Financial         Impaired                   Yes
  Secured     Services
  Class 2     General Unsecured Claims             Impaired                   Yes
  Class 3     Interest Holder – Mike Davidson      Impaired                   Yes


                                             Page 7 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                              Main Document    Page 7 of 21
                              ARTICLE IV
              TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

       Unless such holder agrees to other treatment (in which event, such other agreement shall
govern), each holder of an Allowed Class 1 Claim shall be treated as follows:

4.1    Secured Claims:

       4.01 Redstone Federal Credit Union: Class 1.1 consists of the Allowed Secured
       Claim of Redstone Federal Credit Union (“RCFU”) in the amount of $142,565.41 and is
       impaired. The Debtor is indebted to RCFU pursuant to a note and mortgage on real
       property located at 130 Shady Lane Langston, Alabama. The Debtor owns a one-half
       interest in this property. Debtor proposes to settle and satisfy this claim through monthly
       payments in the amount of $1,000 which payments include interest at the contract rate of
       interest. This creditor will retain its lien upon this collateral until such time as the debt is
       paid in full.

       4.02 Lincoln Automotive Financial Services: Class 1.2 consists of the Allowed Secured
       Claim in the amount of $57,970 held by Lincoln Automotive Financial Services
       (“Lincoln”), which is impaired. The Debtor is indebted to Lincoln pursuant to a vehicle
       loan for a 2017 Lincoln Navigator. Post-petition this Court approved the Debtor’s
       monthly payment to Lincoln in the amount of $1,017.03 beginning in August, 2018 [Doc.
       48]. This payment includes interest at the contract rate of 0.00%. Debtor will continue to
       pay this debt pursuant to the terms of this Court’s prior Order until the debt is paid in full.
       Debtor estimates that the payment period is approximately 52 months. Alternatively, the
       Debtor reserves the right to sell this vehicle for fair market value and satisfy this claim.
       Any excess proceeds would be paid to Allowed Claim holders of Class 2. This creditor
       will retain its lien upon this collateral until such time as the debt is paid in full.

4.2     Non-Priority General Unsecured Claims: Class 2 consists of all Allowed general
unsecured claims which are impaired. The total amount of unsecured claims exceeds $1,948,730.
The claims are of every kind and nature including claims arising from personal guarantees, the
rejection of executory contracts, unexpired lease claims, deficiencies on secured claims, contract
damage claims or open account claims, unsecured tax claims, and damages arising from or related
to any liquidated or contingent claim. It also includes any debt which is filed as a priority or
secured claim but, which is allowed as an unsecured claim by the Bankruptcy Court. Holders of
general unsecured claims without priority which are Allowed Claims as determined on or before
the Effective Date of the Plan shall be paid on a pro-rata distribution, from the pool of funds
created from the sale of the Debtor’s assets. Allowed claim holders in this class will receive
71.84% of their Allowed Claim from funds available for distribution from the liquidation of
Assets. The method through which payment shall be made to Allowed Claim holders in this Class
is discussed in the Implementation Section.

               4.3     Interest Holder.

       Class 3 consists of the Claim of Michael W. Davidson as the Debtor and Debtor in
Possession. The Debtor is not retaining any assets or property above his exemptions as allowed

                                             Page 8 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                    Desc
                              Main Document    Page 8 of 21
under federal and state law. Claims in this class are Impaired under this Plan. Therefore, pursuant
to Section 1126(a) of the Bankruptcy Code, the holders of Class 3 Claims are entitled to vote to
accept or reject this Plan.

                                         ARTICLE V
                                      VOTING OF CLAIMS

       5.1      Voting of Claims. Each holder of an Allowed Claim in an Impaired Class of
Claims shall be entitled to vote to accept or reject this Plan. For purposes of calculating the
number of Allowed Claims in a Class of Claims that have voted to accept or reject this Plan under
Section 1126(c) of the Bankruptcy Code, all Allowed Claims in such Class held by one entity or
any affiliate thereof (as defined in the Securities Act of 1933 and the rules and regulations
promulgated thereunder) shall be aggregated and treated as one Allowed Claim in such Class.

        5.2    Acceptance by a Class of Creditors. Consistent with Section 1126(c) of the
Bankruptcy Code, and except as provided for in Section 1126(e) of the Bankruptcy Code, a Class
of Claims or Interests shall have accepted this Plan if it is accepted by at least two-thirds in dollar
amount and more than one-half in number of the holders of Allowed Claims or Interests of such
Class that have timely and properly voted to accept or reject this Plan.

        5.3    Presumed Acceptance of Plan. All Classes of Claims that are designated as
unimpaired under this Plan are presumed to accept the Plan. Nonetheless, the Plan proposes that
all Classes of Claims also shall be permitted to vote on the Plan, based upon the possibility that
one or more Classes of Claims ultimately is determined to be Impaired. There are no unimpaired
classes proposed in the Plan.

       5.4     Cram Down. In the event one or more Classes of Claims entitled to vote on the
Plan votes to reject the Plan, the Plan Proponents shall utilize the “cram down” provisions of
Section 1129(b) of the Bankruptcy Code to satisfy the requirements for confirmation of this Plan.

                                    ARTICLE VI
                          THE IMPLEMENTATION OF THE PLAN

       6.1      Implementation. This Plan will be implemented through the sale of the assets
shown in the chart below in order to create a pool of funds from which to make payment to holders
of Allowed Claims. On or before the Effective Date of the Plan the Debtor shall list for sale or
refinance the following real properties. The sales or refinance is expected to generate close to the
Equity value shown below. The method of sale includes sale by private or public sale through a
licensed realtor. The process of each sale involves the valuation of each property to ensure that
the property is being sold for the highest attainable price. The time within which all sales are to
be completed is unknown at this point.

                       Asset                   Value             Lien            Equity
           2808/2828 Old RR Bed Rd.
                                              $500,000         $400,000         $100,000
           Harvest, AL (50% interest)



                                              Page 9 of 21


Case 18-82270-CRJ11          Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                   Desc
                               Main Document    Page 9 of 21
          130 Shady Lane
                                            $500,000         $142,565        $357,435
          Langston, AL
          53 Evans Drive
                                             $75,000            $0           $75,000
          Langston, AL
          895 Co. Rd. 614
                                            $300,000            $0           $300,000
          Mentone, AL
          178 Walton Lakeshore Dr.
                                             $3,500             $0            $3,500
          Panama City, FL

         The Debtor owns a 50% interest in these properties. The other 50% is owned by Dean
Hudson. However, the interests of both the Debtor and Mr. Hudson are being sold and or
refinanced and those proceeds are being used to fund obligations under this Plan. With respect
to the property in Harvest, while the Debtor is not obligated on this debt he has previously
mortgaged his one-half interest in this property to both Redstone Federal Credit Union (RCFU)
and CB&S Bank. Dean Hudson is the actual obligor on the indebtedness owed to both these
institutions. The debt owed to RFCU is approximately $3,000 which has been drawn on the
equity line of credit. The Debt owed to CB&S is approximately $397,000. In this process, Mr.
Hudson will assume the entire indebtedness that is owed on the Harvest property which he alone
is paying even though the debt was incurred for joint purposes.

       The Debtor estimates that the sale or refinance of the Mentone and Harvest properties
would take place in approximately 60 days from the Effective Date of the Plan. The sale proceeds
would be deposited into the DIP account and used to pay Allowed Claims. The Debtor has already
sold one commercial tract of land with the Bankruptcy Court’s approval and deposited those
proceeds in the DIP bank account. The proceeds held in the DIP account, less allowed
Administrative Expenses, as well as the proceeds from the sale Debtor’s interest in his remaining
properties constitute the “pot” from which payments will be made to Allowed Claim holders.

       The Plan further provides that the Debtor make adequate protection payments to RFCU
which holds a mortgage on the Property at 130 Shady Lane during the period of time that this
property is being marketed and sold. The Debtor will also sell his interest in the real property in
Panama City, Florida for fair market value within 12 months from the Effective Date of the Plan.

       The Debtor also owns certain personal property shown on Schedule __ to the Disclosure
Statement. The total value of this personal property is $43,235. The Debtor however, is entitled
to exempt $7,500 of value in this personal property. Consequently, the actual amount of value
being contributed towards the payment of Allowed Claims from this personal property is
approximately $35,735.

       6.2     Implementation of the Plan as to Biora Creditors.

        The Biora Creditors have filed a proof of claim in the amount of $1,948,730.05 which is
an Allowed General Unsecured Claim. The Biora Creditors will be paid $1,400,000 in full
satisfaction of this claim as follows:



                                            Page 10 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                Desc
                             Main Document    Page 10 of 21
              a) $650,000 to be paid in approximately 90 from June 28, 2019 from funds already
              in the DIP account or generated through the liquidation or refinance of properties
              identified above.

              b) The sum of $650,000 will be paid within approximately 180 days from June 28,
              2019 also from funds already in the DIP account or generated through the
              liquidation or refinance of properties identified above.

              c) Should the liquidation or refinance of the properties identified above not be
              sufficient to meet a and b, then such additional sums will be paid by Dean Hudson
              pursuant to the Settlement Agreement attached hereto and are incorporated herein
              by reference.

              d) The remaining $100,000.00 is to be paid in two equal $50,000 installments due
              no later than July 1, 2020 and July 1, 2021, and secured by a first or second
              mortgage on the Harvest, Mentone and Langston properties and lien on Hudson's
              retirement account.

              e) Hudson has also paid the Biora Creditors the sum of $57,000 which will be
              credited against the 1.4 Million.

              f) Upon confirmation of the Plan, the Parties will also file a judgment in the
              adversary proceeding providing for the entry of a non-dischargeable judgment
              against Davidson in the amount of 1,400,000 under §523 of the Bankruptcy Code.
              This judgment shall also resolve the fraudulent transfer claims asserted against
              Dean Hudson. The judgment shall be satisfied according to the terms of this Plan
              and the treatment of the Biora Creditors Allowed Unsecured Claim.

              f) There are additional non-monetary settlement terms that are essential to the
              settlement between the Biora Creditors and the Debtor. Those terms are explained
              in the Settlement Agreement attached hereto and are incorporated herein by
              reference.


        6.3    Post-Confirmation Reports and Fees. All accrued and unpaid fees payable
pursuant to 28 U.S.C. § 1930, as determined by the Bankruptcy Court on the Confirmation Date,
will be paid on the Effective Date. Subsequent to the Effective Date, the Debtor shall also be
responsible for the filing of all post-confirmation reports with the Bankruptcy Administrator and
for arranging for payment from the Plan Administration Account of all post-confirmation fees
charged or assessed against the Estate pursuant to 28 U.S.C. § 1930.

        6.4     Post-Confirmation Fees, Compensation, Costs, and Expenses. Subject to
Court approval, the Debtor shall cause to be paid from the DIP Account all fees, costs, and
expenses related to the implementation of the Plan, including without, limitation, the fees and
expenses of the professionals. All retained professionals of the Estate may apply to the Court for
the entry of a compensation procedures order similar to the Court’s Order Approving Procedures
for Payment of Interim Compensation of Professionals entered February 5, 2019 [Docket No. 94],

                                           Page 11 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39               Desc
                             Main Document    Page 11 of 21
such that the fees and expenses may be paid monthly or on such schedule as the Court may
establish.

        6.5     Compliance with Tax Requirements. The Debtor shall comply with all
reporting requirements imposed by federal, state or local taxing authorities in connection with the
sale of assets pursuant to this Plan and shall be authorized to take any and all action necessary
and appropriate to comply with such requirements. Also, as a condition to making any
Distribution under this Plan, the Debtor may require the holder of an Allowed Claim to provide
such holder’s taxpayer identification number, and such other information, certification or forms
as necessary to comply with applicable tax reporting laws. Notwithstanding any other provision
of this Plan, each entity receiving a Distribution of Cash pursuant to this Plan shall have sole and
exclusive responsibility for the satisfaction and payment of tax obligations imposed by any
governmental unit, including income, withholding and other tax obligations, on account of such
Distribution.

        6.6   Information. The Debtor shall provide the Biora Estate and the Bankruptcy
Administrator such information as they may reasonably request and in a timely manner.
Information may be provided informally, such as by e-mail, or in the form of a quarterly or annual
report.

        6.7    Authority. The Confirmation Order shall constitute full and complete authority
for the Plan Proponents to take all other actions that may be necessary, useful or appropriate to
consummate this Plan without any further corporate or judicial authority, except as otherwise
provided by the Plan or the Confirmation Order.


                               ARTICLE VII
              PROVISIONS GOVERNING MANNER OF DISTRIBUTIONS

       7.1     Distribution Schedules. As part of the Plan, the Plan Proponents, shall prepare
schedules of Distributions with respect to each Class of Claims and Interests. Copies of the
Distribution Schedules shall be made available, upon request, to any party in interest, in electronic
form.

       7.2    Reliance on Schedules and Claims Register. In making Distributions under this
Plan, the Debtor may rely upon the Schedules and the claims register maintained by the
Bankruptcy Court as such claims register may be modified by any Final Order of the Bankruptcy
Court disallowing Claims in whole or in part.

      7.3     Initial Distribution. Not later than 90 days from the Effective Date, the Plan
Proponents shall make an initial Distribution (the “Initial Distribution”) of Cash to holders of
Allowed Claims, in the order of their priority.

        7.4    Interim Distributions. Depending on the sufficiency of Available Funds, and the
administrative cost associated therewith, the Plan Proponents may make interim distributions
(“Interim Distributions”) from the DIP account to Allowed Claim holders, in order of their
priority.


                                             Page 12 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                             Main Document    Page 12 of 21
         7.5     Final Distribution. Upon the resolution of all contingencies and the repayment
in full of all compensation, costs, and expenses, all taxes, and other costs and expenses associated
with the performance or completion of performance under the Plan, Plan Proponents shall make
a final Distribution (the “Final Distribution”) of Cash to holders of Allowed Claims, in the order
of their priority. The Final Distribution shall be made in the same order as the Initial Distribution
and the Interim Distribution such that all Allowed Claims are paid.

       7.8    Distributions of Cash. Any Cash payment to be made hereunder may be made
by check or wire transfer.

        7.9     Delivery of Distributions and Undeliverable Distributions. Subject to
Bankruptcy Rule 9010, all Distributions to any holder of an Allowed Claim shall be made at the
address of such holder as set forth on the Schedules filed with the Bankruptcy Court or on the
books and records of the Debtor or their agents or in a letter of transmittal unless the Debtor, prior
to the Effective Date, has been notified in writing of a change of address, including, without
limitation, by the filing of a proof of claim by such holder that contains an address for such holder
different from the address reflected on such Schedules for such holder. In the event that any
Distribution to any holder is returned as undeliverable, no further Distributions to such holder
shall be made unless and until the Debtor is notified of such holder’s then-current address, at
which time all missed Distributions shall be made to such holder, without interest. All demands
for undeliverable Distributions shall be made on or before 60 days after the date such
undeliverable Distribution was initially made. Thereafter, any Claim in respect of such
undeliverable Distribution shall be discharged and forever barred from assertion against the
Debtor and property of the Estate.

        7.10 Time Bar to Cash Payments. Checks issued by the Debtor in respect of Allowed
Claims shall be null and void if not negotiated within 90 days after the date of issuance thereof.
Requests for reissuance of any check shall be made to the Debtor only by the holder of the
Allowed Claim to whom such check originally was issued. Any Claim in respect of such a voided
check shall be made on or before thirty (30) days after the expiration of the 90 day period
following the date of issuance of such check. Thereafter, the amount represented by such voided
check shall irrevocably revert to the funds available for Distribution under the Plan and any Claim
in respect of such voided check shall be discharged and forever barred from assertion against the
Estate, the Debtor, and his property.

        7.11 Transactions on Business Days. If the Effective Date or any other date on which
a transaction may occur under the Plan shall occur on a day that is not a Business Day, the
transactions contemplated by the Plan to occur on such day shall instead occur on the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

       7.12 Other Payments. This Article relates to the timing of Distributions with respect
to Classes of Claims. All other Claims, fees, and expenses due to be paid under the Plan shall be
timely paid in the manner provided in the applicable provisions of the Plan.

                                   ARTICLE VIII
                          PROCEDURES FOR DISPUTED CLAIMS



                                             Page 13 of 21


Case 18-82270-CRJ11          Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                              Main Document    Page 13 of 21
        8.1    Objections to Claims. Objection to claims may be filed by either the Debtor or
the Biora Creditors. All objections to Claims shall be served and filed on or before the later of:
(i) 30 days after the Confirmation Date, and (ii) such date as may be fixed by the Bankruptcy
Court, whether fixed before or after the date specified in clause (i) above.

        8.2     No Distribution Pending Allowance. Except as otherwise authorized and
directed by the Court, if any portion of a Claim is a Disputed Claim, no payment or Distribution
provided hereunder shall be made on account of such Claim unless and until such Disputed Claim
becomes an Allowed Claim. Until such time, the Plan Proponents shall withhold from the property
to be distributed to holders of such Claim the portion of such property allocable to such Claim,
pending disposition of such claim by the Bankruptcy Court.

       8.3     Allowance of Disputed Claims. If, on or after the Effective Date, any Disputed
Claim becomes, in whole or in part, an Allowed Claim, the Plan Proponents shall, on or before
twenty-one (21) calendar days following the day in which the Disputed Claim becomes an
Allowed Claim, distribute to the holder thereof the Distribution that such holder would have
received had its Claim been Allowed on the Effective Date.

       8.4      Tax Reporting and Compliance. The Debtor is hereby authorized to request an
expedited determination under Section 505(b) of the Bankruptcy Code of the tax liability of the
Debtor for all taxable periods ending after the Petition Date through and including the Effective
Date.

                              ARTICLE IX
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        9.1    Executory Contracts and Unexpired Leases. On the Effective Date, all
executory contracts and unexpired leases to which the Debtor are parties shall be deemed rejected
as of the Effective Date, except for an executory contract or unexpired lease that (i) has been
assumed or rejected pursuant to a Final Order of the Bankruptcy Court entered prior to the
Effective Date or (ii) is the subject of a separate motion to assume or reject filed under Section
365 of the Bankruptcy Code by the Debtor prior to the Effective Date.

                                     ARTICLE X
                             EFFECTIVENESS OF THE PLAN

       10.1 Conditions Precedent to Confirmation of Plan. The following are conditions
precedent to the occurrence of the Confirmation Date: (a) The entry of a Final Order finding that
the Disclosure Statement contains adequate information pursuant to Section 1125 of the
Bankruptcy Code which order shall be in form and substance reasonably satisfactory to the Plan
Proponents; (b) The proposed Confirmation Order shall be, in form and substance, reasonably
acceptable to the Plan Proponents; and (c) All provisions, terms and conditions of this Plan are
approved in the Confirmation Order.

                             ARTICLE XI
        EFFECT OF CONFIRMATION AND RETENTION OF JURISDICTION



                                           Page 14 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39               Desc
                             Main Document    Page 14 of 21
       11.1 Binding Effect. Except as otherwise provided in Section 1141(d)(3) of the
Bankruptcy Code, on and after the Confirmation Date, the provisions of the Plan shall bind the
Debtor and every holder of a Claim against the Debtor, whether or not the Claim of such holder
is impaired under the Plan and whether or not such Claim holder has accepted the Plan.

        11.2 Full and Final Satisfaction. The treatment of Claims provided in this Plan shall
be in full and final satisfaction and settlement of all Claims against the Estate and the Debtor.
Except as provided in this Plan or the Confirmation Order, the rights afforded under this Plan will
be in exchange for and in complete satisfaction, discharge and release of all Claims and liabilities
against the Estate arising on or before the Effective Date, including any liabilities accrued after
the Filing Date.

        11.3 Discharge. Upon substantial consummation and completion of all duties under this
Plan and entry of a Final Decree closing the Case, the Debtor shall receive a discharge of any and
all debts of the Debtor that arose at any time before Confirmation, including but not limited to,
all principal and interest, whether accrued before or after the Filing Date, pursuant to § 1141(d)(1)
and (d)(5) of the Code excluding, however, the debt owed by Debtor to the Biora Creditors,
which debt is non-dischargeable under §523 of the Bankruptcy Code. The discharge shall be
effective as to each Claim, regardless of whether a proof of claim therefore was filed, whether the
Claim is an allowed claim, whether the claim is properly scheduled or whether the holder thereof
votes to accept the Plan. The rights afforded in the Plan shall be in exchange for and in complete
satisfaction, discharge and release of all Claims and interests of any nature whatsoever. All
creditors shall be precluded from asserting against the Debtor or their assets or properties any
claim which arises from or relates to any act, omission or transaction of any kind that occurred
prior to the Confirmation Date.

      11.4 INJUNCTION. EXCEPT AS OTHERWISE PROVIDED IN THIS PLAN, THE
CONFIRMATION ORDER SHALL PROVIDE, AMONG OTHER THINGS, THAT FROM
AND AFTER THE EFFECTIVE DATE ALL PERSONS WHO HAVE HELD, HOLD OR MAY
HOLD CLAIMS AGAINST THE DEBTOR ARE PERMANENTLY ENJOINED FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST THE DEBTOR OR THEIR
ESTATE, OR ANY OF THEIR PROPERTIES ON ACCOUNT OF ANY SUCH CLAIMS: (A)
COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY PLACE, ANY ACTION
OR OTHER PROCEEDING; (B) ENFORCING, ATTACHING, COLLECTING OR
RECOVERING IN ANY MANNER ANY JUDGMENT, AWARD, DECREE OR ORDER; (C)
CREATING, PERFECTING OR ENFORCING ANY LIEN OR ENCUMBRANCE; (D)
ASSERTING A SETOFF, RIGHT OF SUBROGATION OR RECOUPMENT OF ANY KIND
AGAINST ANY DEBT, LIABILITY OR OBLIGATION DUE TO THE DEBTOR; AND (E)
COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY PLACE, ANY ACTION
THAT DOES NOT COMPLY WITH OR IS INCONSISTENT WITH THE PROVISIONS OF
THIS PLAN, PROVIDED HOWEVER, THAT NOTHING CONTAINED IN THIS PLAN
SHALL PRECLUDE SUCH PERSONS FROM EXERCISING THEIR RIGHTS PURSUANT
TO AND CONSISTENT WITH THE TERMS OF THIS PLAN OR THE CONFIRMATION
ORDER.

       11.5 Tax Injunction. In accordance with Section 346 of the Bankruptcy Code for
purposes of any state or local law imposing a tax, income will not be realized by the Debtor or by

                                             Page 15 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                             Main Document    Page 15 of 21
reason of forgiveness or discharge of indebtedness resulting from the Case. As a result, each state
or local taxing authority is permanently enjoined and restrained, after the Confirmation Date,
from commencing, continuing or taking any act to impose, collect or recover in any manner any
tax against the Debtor arising by reason of the forgiveness or discharge of any such tax under this
Plan. Notwithstanding any other provision of this Plan, each Person or entity receiving a
Distribution pursuant to this Plan shall have sole and exclusive responsibility for the payment and
satisfaction of tax Claims or obligations imposed by any Governmental Unit on account of, arising
out of or related to any such Distribution, including, without limitation, income and withholding
taxes.

        11.6 Term of Injunctions or Stays. Unless otherwise expressly provided herein, all
injunctions or stays arising under or entered during this Chapter 11 Case under Section 105 or
362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the closing of this Chapter 11 Case.

        11.7 Injunction Against Interference with Plan. Upon the entry of the Confirmation
Order, the Debtor, all holders of Claims, and all other parties in interest, along with their
respective present or former employees, agents, officers, directors, or principals, shall be enjoined
from taking any actions to interfere with the implementation or consummation of the Plan.

        11.8 Jurisdiction of Bankruptcy Court. The Bankruptcy Court shall retain
jurisdiction of all matters arising under, arising out of, or related to this Chapter 11 Case and the
Plan pursuant to, and for the purposes of, Sections 105(a) and 1142 of the Bankruptcy Code and
for, among other things, the following purposes:

        (a) To hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Confirmation Order, any transactions or
payments contemplated hereby, or any agreement, instrument, or other document governing or
relating to any of the foregoing;

      (b) To take any action and issue such orders as may be necessary to construe, enforce,
implement, execute, and consummate the Plan or to maintain the integrity of the Plan following
consummation;

       (c) To ensure that distributions to holders of Allowed Claims are accomplished as
provided herein;

       (d) To consider Claims or the allowance, classification, priority, compromise, estimation,
or payment of any Claim;

        (e) To hear and determine motions for the assumption, assumption and assignment, or
rejection of executory contracts or unexpired leases and the allowance of Claims resulting
therefrom;

        (f) To determine any motion, adversary proceeding, application, contested matter, and
other litigated matter pending on or commenced after the Confirmation Date;

       (g) To enter, implement, or enforce such orders as may be appropriate in the event the

                                             Page 16 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                             Main Document    Page 16 of 21
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

      (h) To issue injunctions, enter and implement other orders, and take such other actions as
may be necessary or appropriate to restrain interference by any person with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the
Bankruptcy Court;

        (i) To hear and determine any application to modify the Plan in accordance with Section
1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency
in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court, including the
Confirmation Order, in such a manner as may be necessary to carry out the purposes and effects
thereof;

       (j) To hear and determine all applications under Sections 330, 331, and 503(b) of the
Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses;

       (k) To recover all assets of the Debtor or property of the Estate, wherever located;

      (l) To determine such other matters and for such other purposes as may be provided in the
Confirmation Order;

       (m) To hear and determine matters concerning state, local and federal taxes in accordance
with Sections 346, 505, and 1146 of the Bankruptcy Code;

      (n) To hear and determine any other matters related hereto and not inconsistent with the
Bankruptcy Code and Title 28 of the United States Code; and

       (o) To enter a final decree closing this Chapter l 1 Case.

                                     ARTICLE XII
                              MISCELLANEOUS PROVISIONS

      12.1 Substantial Consummation. The Plan shall be deemed to be substantially
consummated when the Debtor make the Initial Distribution.

       12.2 Effectuating Documents and Further Transactions. The Debtor is authorized
and directed to execute, deliver, file, or record such contracts, instruments, releases, indentures,
and other agreements or documents and take such actions as may be reasonably necessary or
appropriate to implement the Plan.

         12.3 Exemption from Transfer Taxes. Pursuant to Section 1146(c) of the Bankruptcy
Code, the delivery of any deed or other instrument of transfer under, in furtherance of, or in
connection with the Plan, including any deeds, bills of sale, or assignments executed in connection
with any disposition of assets contemplated by the Plan shall not be subject to any stamp, real
estate transfer, mortgage recording, sales, use, or other similar tax.

       12.4    Modification of Plan. Upon reasonable notice, the Plan may be amended,

                                            Page 17 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                  Desc
                             Main Document    Page 17 of 21
modified, or supplemented by the Plan Proponents in the manner provided for by Section 1127
of the Bankruptcy Code or as otherwise permitted by law without additional disclosure pursuant
to Section 1125 of the Bankruptcy Code, except as the Bankruptcy Court may otherwise direct.
In addition, after the Confirmation Date, so long as such action does not materially adversely
affect the treatment of holders of Claims under the Plan, the Plan Proponents may institute
proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
inconsistencies in the Plan or the Confirmation Order, with respect to such matters as may be
necessary to carry out the purposes and effects of the Plan. Prior to the Effective Date, the Plan
Proponents may make appropriate technical adjustments and modifications to the Plan without
further order or approval of the Bankruptcy Court, provided that such technical adjustments and
modifications do not adversely affect in a material way the treatment of holders of Claims.

       12.5 Revocation or Withdrawal of Plan. The Plan Proponents reserve the right to
revoke or withdraw the Plan at any time prior to the Confirmation Date for good cause shown. If
the Plan Proponents take such action, subject to the conditions set forth above, the Plan shall he
deemed null and void. In such event, nothing contained herein shall be deemed to constitute a
waiver or release of any Claim by or against the Debtor or any other person or to prejudice in any
manner the rights of any creditor or any other person in any further proceedings involving the
Debtor.

        12.6 Disputes Among Plan Proponents. In the event of a disagreement or dispute
between or among the Plan Proponents, or any of them, regarding an action that shall or may be
taken, or a document that shall or may be filed, pursuant to the Plan, a Plan Proponent may apply
to the Bankruptcy Court for an Order authorizing such action to be taken, or document to be filed,
on behalf of the Plan Proponents.

        12.7 Courts of Competent Jurisdiction. If the Bankruptcy Court abstains from
exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter
arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall have no effect upon
and shall not control, prohibit, or limit the exercise of jurisdiction by any other court having
competent jurisdiction with respect to such matter.

        12.8 Severability. If, prior to the entry of the Confirmation Order, any term or
provision of the Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
Bankruptcy Court, at the request of the Plan Proponents, shall have the power to alter and interpret
such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as
it may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.

        12.9 Governing Law. Except to the extent the Bankruptcy Code or other federal or
state law is applicable, or as otherwise specifically set forth herein, the rights, duties, and

                                             Page 18 of 21


Case 18-82270-CRJ11          Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39                   Desc
                              Main Document    Page 18 of 21
obligations arising under the Plan shall be governed by, and construed and enforced in accordance
with, the laws of the State of Alabama, without giving effect to the principles of conflicts of law
thereof.

         12.10 Exhibits. All exhibits to the Plan are incorporated into and are a part of the Plan
as if set forth in full herein.

       12.11 Successors and Assigns. All the rights, benefits, and obligations of any person
named or referred to in the Plan shall be binding on, and shall inure to the benefit of, the heirs,
executors, administrators, successors, or assigns of such person.

       12.12 Time. In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

        12.13 Standing. Any creditor or party in interest may appear and be heard on any issue
in this Case.

        12.14 Notice. Any notice required to be given pursuant to the terms of this Plan shall be
given to the following addresses by first class mail and electronic mail.

If to the Debtor:

       Michael W. Davidson
       c/o Kevin D. Heard, Esq.
       Heard, Ary & Dauro, LLC
       303 Williams Avenue SW, Suite 921
       Huntsville, Alabama 35801
       kheard@heardlaw.com

If to the Biora Creditors:

       Gregory H. Revera
       Revera Law Firm, LLC
       120 Holmes Ave. NE, Ste 303
       Huntsville, Alabama 35801
       reveralaw@gmail.com

       Respectfully submitted on this 30th day of August, 2019.

                                                       /s/Michael W. Davidson
                                                       Michael W. Davidson


                                                       /s/ Kevin D. Heard
                                                       Kevin D. Heard
                                                       Attorney for Debtor


                                            Page 19 of 21


Case 18-82270-CRJ11          Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39               Desc
                              Main Document    Page 19 of 21
Of counsel:
HEARD, ARY & DAURO, LLC
303 Williams Avenue
Park Plaza, Suite 921
Huntsville, Alabama 35801
Phone: (256) 535-0817
kheard@heardlaw.com




                                                      /s/Gregory H. Revera
                                                      Gregory H. Revera
                                                      Attorney for the Biora Creditors

Of counsel:
Revera Law Firm
120 Holmes Ave. Ste 303
Huntsville, Alabama 35801
Phone: (256)217-4554
reveralaw@gmail.com


                               CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of August, 2019, I served a copy of the foregoing
Joint Plan of Reorganization Dated August 30, 2019 on the parties listed below and on the
attached matrix by depositing the same in the United States Mail, postage prepaid and properly
addressed, via electronic mail at the e-mail address below, unless the party being served is a
registered participant in the CM/ECF System for the United States Bankruptcy Court for the
Northern District of Alabama, service has been made by a “Notice of Electronic Filing” pursuant
to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative Procedures
as indicated below:

Notice will be electronically mailed to:

Richard M Blythe Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

Jeffrey L Cook jcook7117@yahoo.com

Kevin C Gray kgray@bradley.com, kevingray671@gmail.com; ttatum@bradley.com,
mpressley@bradley.com



                                           Page 20 of 21


Case 18-82270-CRJ11         Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39             Desc
                             Main Document    Page 20 of 21
William H Hancock bankruptcy@wolfejones.com, wmhancock@wolfejones.com

Gregory H Revera reveralaw@gmail.com

John Jeffery Rich jrich@madisoncountyal.gov

S Dagnal Rowe drowe@wilmerlee.com, dbranche@wilmerlee.com

Andrew J Shaver ashaver@bradley.com

Notice will not be electronically mailed to:

All parties on the attached matrix were served via U.S. Mail.


                                                          /s/ Kevin D. Heard
                                                          KEVIN D. HEARD




                                          Page 21 of 21


Case 18-82270-CRJ11        Doc 200 Filed 08/30/19 Entered 08/30/19 16:55:39    Desc
                            Main Document    Page 21 of 21
